 Case 15-13329-elf            Doc 62
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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                                          :      CHAPTER 13
 ALEXANDER VULAKH                                                :
 MARINA VULAKH                                                   :      BK. No. 15-13329 ELF
                                    Debtors                      :

                                    CERTIFICATION OF DEFAULT


                  PHELAN HALLINAN DIAMOND & JONES, LLP, attorneys for Movant, hereby certifies

that the above-captioned Debtors have failed to comply with the terms of the Stipulation approved by the U.S.

Bankruptcy Judge JEAN K. FITZSIMON on December 6, 2016.

                  In accordance with the terms of said Stipulation agreed to by the parties, the Automatic Stay is

hereby lifted as to permit Movant to proceed with their State Court remedies upon Debtors' property. Movant

further certifies that the required Notice of Default was sent to Debtors and Debtors' attorney and Debtors have

failed to cure the default.

 Dated: January 17, 2018                                   /s/ Jerome Blank, Esquire
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